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1                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            April 22, 2010
8                      Defendants. )            10:00 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LEONARD GOODMAN LAW OFFICE, LLC
                                       BY: MR. LEONARD C. GOODMAN
14                                     53 West Jackson Boulevard
                                       Chicago, Illinois 60604
15
16
     For the Defendant:           DYKEMA GOSSETT PLLC
17                                     BY: MR. DANIEL M. NOLAND
                                       10 South Wacker Drive, Suite 2300
18                                     Chicago, Illinois 60606
19
                                  COOK COUNTY STATE'S ATTORNEY
20                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
21                                     Chicago, Illinois 60602
22
23                LAURA M. BRENNAN - Official Court Reporter
                     219 South Dearborn Street - Room 2102
24                          Chicago, Illinois 60604
                                (847) 373-5598
25
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1         (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MR. GOODMAN: Good morning.
4                For the record, Leonard Goodman. I'm asking leave to
5    file my appearance on behalf of Mr. Nathson Fields.
6                THE COURT: Yes. You took my advice. You're a smart
7    man.
8                Okay. Mr. Goodman has leave to file his appearance
9    on behalf of Mr. Fields. You didn't have to even finish the
10   sentence.
11               MR. GOODMAN: Thank you, Judge.
12               THE COURT: Okay.
13               MR. GARCIA: Good morning, your Honor; Stephen Garcia
14   on behalf of the State's Attorney defendants.
15               MR. NOLAND: Good morning, your Honor; Dan Noland on
16   behalf of the -- I can name them all or --
17               THE COURT: Just all of the City people.
18               MR. NOLAND: Yes.
19               THE COURT: Are there any exceptions, I guess?
20               MR. NOLAND: There's 21 City related people sued. We
21   have appeared now for 18, including the City. There's three
22   whom we have not located yet.
23               THE COURT: You're still trying to track them down.
24               MR. NOLAND: I'm still working to do it, but,
25   obviously, we have been on the horn the last couple of weeks.
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1    We took your Honor's statements at the last hearing very
2    seriously.
3                THE COURT: I very much appreciate your doing that
4    because I saw there was a bunch of appearances filed the other
5    day, and I appreciate you doing it.
6                MR. NOLAND: And some of these men have been retired
7    for upwards of a decade.
8                THE COURT: Who are the three that are still --
9                MR. NOLAND: Hood, Delaney and Richardson are the
10   three that I have not located.
11               THE REPORTER: Are the three?
12               MR. NOLAND: Hood, Delaney and Richardson.
13               THE COURT: "Are the three," that was the part that
14   she didn't hear.
15               MR. NOLAND: Those are the three that I have not
16   located.
17               THE COURT: Okay, then. So there are several motions
18   that are still pending, and so what I would like to get a
19   handle on now, first of all, is are you going to want --
20               Mr. Goodman, for a second there, I thought you
21   changed your mind.
22               MR. GOODMAN: No, no, no.
23               THE COURT: Okay. Are you going to be wanting to
24   file an amended complaint, or are you going to go with what is
25   in there right now?
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1                MR. GOODMAN: Judge, I think it's quite likely. I
2    just got the case.
3                THE COURT: I understand.
4                MR. GOODMAN: And I'm studying.
5                THE COURT: How long would you like to file an
6    amended complaint, if that's what you end up doing?
7                MR. GOODMAN: Three weeks.
8                THE COURT: I will give you more than that, if you
9    want. How about five?
10               MR. GOODMAN: Five weeks.
11               THE COURT: Fine. Plaintiff has until the 27th of
12   May to file an amended complaint.
13               Okay. And I'm just going to assume that there's a
14   decent chance that Mr. Goodman will do that, not that I'm
15   suggesting that there is anything wrong with the complaint
16   that Mr. Fields filed in the beginning, but Mr. Goodman is
17   going to need to look at it and figure out what, you know, he
18   wants to do.
19               But I think, though, at this point, since we have
20   gotten, you know, cooperation from the lawyers for the City
21   about getting people served, I'm going to terminate the
22   motions for default judgment because I think a reasonably
23   diligent effort has been made on the defendants' part, and I'm
24   going to -- and the motions to extend time are effectively
25   moot at this point because you can wait until after the
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1    amended complaint gets filed.
2                Now, if Mr. Goodman decides not to file an amended
3    complaint, I will probably give you, you know, a couple or
4    three weeks after I have you come back again.
5                MR. NOLAND: Thank you, your Honor.
6                THE COURT: So I'm going to --
7                All of the pending motions, Augie, are terminated.
8    That's 33, 35, 42, 44 and 51.
9                And so I'm going to set the case for a status on June
10   the -- just a minute -- let's say if this date works okay,
11   June the 10th at 9:30. Is that date all right?
12               MR. GARCIA: That's fine.
13               MR. GOODMAN: Yes.
14               MR. NOLAND: Yes.
15               THE COURT: Okay. So what I am going to be expecting
16   the defendants to tell me then is I'm not going to expect you
17   to have filed anything, but I'm going to expect you to tell me
18   is it going to be an answer, is it going to be a motion to
19   dismiss.
20               Just so you know my position -- because, as many
21   times as I say this, the lawyers for the City somehow seem not
22   to get it, and I'm not speaking about you individually,
23   Mr. Noland; I'm talking about corporation counsel's office --
24   if you don't move to dismiss every count, you have got to
25   answer the ones you don't move to dismiss. Okay.
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1                I know different judges have different practices.
2    That's my view of the way the rules work, okay.
3                So I will see you on the 10th of June at 9:30 in the
4    morning.
5                MR. GOODMAN: Thank you, Judge.
6                THE COURT: Okay, take care.
7                MR. GOODMAN: I think it's likely -- I expect that
8    Candace Gorman will also be filing an appearance as
9    co-counsel.
10               THE COURT: Okay, all right. You don't need a motion
11   on that. If it's just an additional appearance, I think she
12   can just file it.
13               MR. GOODMAN: Okay.
14               THE COURT: Okay, take care.
15               MR. GOODMAN: Can I give you a hard copy?
16               THE COURT: Thanks.
17        (Which were all the proceedings had in the above-entitled
18   cause on the day and date aforesaid.)
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1                              C E R T I F I C A T E
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3              I hereby certify that the foregoing is a true and
4    correct transcript of the above-entitled matter.
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6
7    /s/ Laura M. Brennan                                  November 1, 2017
8
     Laura M. Brennan
9    Official Court Reporter                                       Date
     Northern District of Illinois
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